Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 1 of 35

HD and Associates, LLC

Health and Safety Plan/Safety Assurance

Version Date: March 1, 2019

 

The documents provided by HD and Associates, LLC disclose proprietary company information that is copyright
registered. Please hold these safety documents in confidence and do not share them with other organizations,
even if you do not charge a fee.

 

 

 

HDA0046057
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 2 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

PROJECT HEALTH AND SAFETY PLAN
TABLE OF CONTENTS

1. HD and Associates, LLC Safety Policy..............sssssssssesssesesssesssssssesssesnenesnssesssssessnesosesesessesonseossnasosnsa eens 3
2. Key Elements of the Safety Syste svsisessssivsccanvcscevsnccessccsusnssnssnsewspesvenvevseversnneuancosssesenwsesuvensveeseenscerecs 4
3. Statement of Safety and Health Policy, Goals, and Objectives .............ccscsesssesesssssssesesssseesnseessnsnenenenees 7
ay SafétVand Health: POliGY esses csmnunmmennnaamuenvrencenunmrennnenemerern Te 7
b. Project Safety Performance Goals and Objectives ........ccccccscccescecesscecsseceessecessseeesaeeseaseeeeseeseseesessesenenaeas 7
4. Responsibilities and Lines Of Authorities..................::s:::ssssssseseeseeeesesessenssesssesessessnsssssssneeeeeeeeesseesensooes 9
a. Company Responsibility StateMeNnt..........ccccccccececsssecsesaecseaeecceesecseeeeseececeseeecaeeesseaeceeaeseaaeeeeeaeeseaueesagas 9
b. Identification and Accountability of Personnel Responsible for Safety .........cccccsscessecssseessseeesseeeenseees 9
c. Names of Competent and/or Qualified Persons.....c..ccccccccccsscccsssssescsessscsecascsescsaeceaecesssesseessesseesaeenes 9
d: Presence of Competent Personnel i sissvisses isscai cvasvevsas sei ansces vearvaasea sia cca cvereas aaa cas aadnereeia sae cvaareavaa teaee saa vaie 10
e@. Safety Lines Of AUtHOL ity oo. cccseccececseeeeecseeceeseceeeeeceeeeeceeeeesseeeesaeseeeseeeeseceesecenesceaaeseeaaeeeeeeeseea 11
f. Policies and Procedures Regarding NONCOMPLIANCE ........cccccccsccecssesesssecseseecsseeesesecsesesceaeeecaseseaseseesaeeess 12
5. Subcontractors and Suppliers: ssssssssssseisvcsieciwveiereiiivecsesevsereiiweweininaneNTT 14
a. Identification of Subcontractors and SUPPLIers oo... cece cceecesseeceessececasessaeeceeeseceeesceseeseseesesseseeseueeeea 14
b, Subcontractor Noncompliancé Policy siiiccccnnnnonnmnnonninnnnnnnimnnerannmnnnnnannannes 14
G. Training ............ccccessseeeescneesseecesenssneceeesnnesseseesnnsseseesceensenssesanasseeessoensssessesonssseseseonssensssnnsnssessnenenesesens 16
a. Requirements for New Hire SOH Orientation Training..........ccccccccccesscecssececsecceseecsssaeesesaeseeseeeeeseesereeenea 16
b. Procedures for Periodic Safety and Health Training.......c..cccccccscccsscccssscccssccsescecsesecsseseesaesesaesessaeeeesea 17

c. Safety Training Records

7. Safety and Health Inspections..............cccsssesesssesseseesesesesesesesceessseesenseeeeneneseessesessesseseseoeseesasssessssnerseees 22
A. INSP@CTIONS........cccccccccessececesseeneeeeeesneeeeeeeee eae eeeeeeeaeeeeeAsaAGAAE;EAAAAS;AELAAGA;SSAEAAAGA;EEEEACS;ERAAAAAGS CR SeAEAGA SER AEEE ERE EE 23
b. Deficiency Tracking, Controls, ANd RECOIS ........cccesccccssscecsseeeesseseeseeceeeeceeeecseeeeeeseescaaeseeaeeeesaeseeenees cea 23

c. External Inspections

 

 

 

8. Accident Reporting .................sssssssccssseeesseesssssesssesessesssssesensneeseenseeesessessessoseooseaneeonanenensnesesesesssseesonons 34
ae EXPOSUPE: DOU a reroeesseomneoreenees er nem crease eneecoromsmronmienareumoraree remem ra ewe mee eecomeryeouneoseee 34
b. Accident Investigation Reports and LOGS......ccccccccccssccssssssesssscssseecseseeseseeceeasecsesessesesucaassssaeessaaeceseeeeeeaa 34
C. Immediate Action Notification...........cccccccccccseccsssseceessecseseeceeeeecsecesseeessaecseaeeeeeeeeceseeseaesscaaeeesseaseeeeeeeenea 35

9. Risk Management Processes..........ccssceeecseeesseeceseescesssessssssesseeseeeneeeeseessesesseesceeeaneesnaeessssneeseeneeeseeeseeens 44
a. Work Task Activity Hazard AnalySis ........cc:cccccccsssssceeessesseseecseescsseeeesaesesaeceeaeseeseeesesaescaeescaaeaceaeaeseneeeeeeea 44

10. Tower Work/Climbing..........0.:ssssscssssssseesesseseessenseecessssnesessssstenessessanenssesneesesessatensesssnsesessssnsesesssaes 50

1'1',, Electrical ssssesesessesseseuwvssvrsxeevevescesevesesereconssouesveseewunvesvexsasvanwwoanseeasysseervenvenceceveevesusyserveneencenmceeeesess 502

10. Civils/COMStrUCTION ......cccceccseeccesscscessessssessssssessscesseseseseuesesesssususuensesessussssssssssssssseseesseseessessesssessasss 507

13. Appendix: Supporting Plans, Policies, ANd PrOC@Cures.............:0sssessssssssssessessessessesesesesssssnsessensnenonaes 77

Page 2
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112
Copyright

HDA0046058
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 3 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

1. HD AND ASSOCIATES, LLC SAFETY POLICY

HD and Associates, LLC is committed to safe and healthful workplace for all employees.

Our goal is to achieve the highest standard of safety throughout all phases of our operations and to
ensure that all employees work safely on jobsites free of avoidable hazardous. When hazards are
unavoidable, we take a proactive approach to prevent injuries. Furthermore, we are ready to respond
quickly and effectively to any accidents to minimize the extent of injuries, and to prevent similar
accidents.

It is the policy of HD&A to abide by all of the safety standards of the Corps of Engineers, including those
outlined in EM 385-1-1 Safety and Health Requirements Manual, OSHA regulations, and described in this
Health and Safety Plan.

Public and personal safety shall be a top priority during the course of work under this contract. All
employees shall be trained and equipped to work in a safe and healthful manner, and shall comply with all
safety and security requirements.

In carrying out our commitment to safety:

e Every employee is indoctrinated into the HD&A Safety System through training of the HD&A
Safety System, Safety Policies, and procedures.

e Each project has a Health and Safety Plan that addresses site-specific conditions and hazards.
We prepare an activity hazard analysis for every phase of construction.

e We systematically reinforce safety during the project through ongoing training and heightened
awareness of hazards.

e very employee has the responsibility and authority to stop work should they discover an unsafe
condition. Employees will not be reprimanded for stopping work.

e Weclosely monitor safety through every phase of construction. Should problems be found, we
correct them and take action to prevent recurrences. A system of incentives and disciplinary
action reinforces adherence to safe work practices.

 

Page 3
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046059
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 4 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

2. KEY ELEMENTS OF THE SAFETY SYSTEM

Key elements of the HD&A Safety System include:

Safety Management and Responsibilities. HD and Associates, LLC fully integrates its
safety management system into the organizational structure and performance management systems for

each project. We:

e Maintain a documented safety system consisting of a safety manual with policies and
procedures.

e Have well-defined safety responsibilities for every employee with specific safety responsibilities
for key job positions.

e = Tightly control exceptions to the safety system so company standards are applied uniformly to
every project

e Systematically maintain safety system documents and records.

Three Phases of Safety Controls. HD and Associates, LLC uses as system of three phases of

control for each feature of work:

e Preparatory Phase: In advance of the work, we conduct preparatory phase planning which
includes inspecting the jobsite before work begins and conducting a meeting to review details,
specifications, expectations, and items for heightened awareness.

e Initial Phase: When work is ready to start, we conduct an initial phase safety inspection that
ensures that the necessary site conditions, materials, equipment, and personnel are in place and
ready for work to begin. When work begins, we verify that the initial work meets specifications.

e Follow-up Phase: As work proceeds we perform follow-up safety inspections to ensure that work
proceeds according to specifications until the feature of work is complete.

Qualified Employees. HD and Associates, LLC ensures that only trained, knowledgeable, capable

employees carryout the planning, execution, and control of our projects. We:

e =Identify employee safety qualification requirements including licensing requirements, training
qualifications, responsibilities, and authority for each job position.

Train field employees on safety standards and procedures for their job position.

Train field employees on safety standards and procedures for the activities they perform.
Validate employee safety capabilities before assigning them to a job with safety responsibilities.
Review ongoing employee qualifications and evaluate safety practices and performance as part
of the employee performance management process.

Project Health and Safety Plan. HD and Associates, LLC prepares a plan that specifies how
HD&A applies its Safety System to each project. We:

e Perform a project risk assessment that identifies hazards and clearly identify requirements for
safety plans, policies, and controls to assure safety.

e = Identify each project work task subject to safety controls.

e ~=Perform an Activity Hazard Analysis (AHA) for every work task that recommends controls and
training that address identified safety risks.

e Perform a Job Position Hazard Analysis (PHA) for every job position on the project recommends
controls and training that address identified safety risks.

 

Page 4
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046060
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 5 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

e Plan safety training required to assure all personnel understand safety risks and requirements of
the project based on the project Risk Assessment, AHAs, and JHAs.

e = Identify required safety inspections and tests at key milestones during construction.

e Plan safety reporting and communications through meetings, reporting requirements, and points
of contact.

Contract Safety Specifications. HD and Associates, LLC ensures that the information in

customer contracts clearly defines customer safety expectations. We:

e Ensure that technical specifications and drawing clearly define customer expectations.

e Havea formal submittal system that further defines customer selections, agreed upon details,
and clarifications as the project proceeds.

e Integrate all customer contract requirements into the Project Health and Safety Plan.

e Plan project safety records and documents that we will provide to the customer during the
project.

Project-Specific Safety Standards. HD and Associates, LLC clearly defines safety standards
and specifications that apply to each project. We:

Identify all relevant building codes and industry standards.

Specify safety and certification requirements for materials and equipment that affect safety.
Identify special requirements calibration of safety measuring devices.

Supplement the contract and published standards with HD&A safety standards as required to
reduce safety risks and assure safety results.

Qualified Subcontractors and Suppliers. HD and Associates, LLC purchases only from

subcontractors and suppliers who consistently meet HD&A standards for safety. We:

e = Clearly define subcontractor and supplier qualification requirements including licensing
requirements, compliance with specific safety standards, safety responsibilities, qualification of
personnel and safety improvement processes.

e Verify ongoing subcontractors’ and suppliers’ safety performance.

Construction Process Safety Controls. HD&a tightly controls the construction process to

ensure safety results. We:

e Have a pre-construction meeting to communicate project safety goals and expectations.

e Conduct preparatory meetings in advance of each scheduled work construction task to
communicate safety requirement details and coordinate construction activities.

e Enforce safety policies that monitor work conditions before and during work so that safety
results are assured.

Safety Inspections and Tests. HD&A safety inspection processes ensure that all construction

activities comply with the documented safety standards and specifications. We:

e Conduct a series of safety inspections for each construction task: in preparation for the task;
before work begins; at first article completion; while work is in process; and at completion.

e Inspect all materials before use.

e Record the result of each safety inspection and test.

 

Page 5
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046061
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 6 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

Control of Nonconformances. HD and Associates, LLC nonconformance control processes

ensure that we prevent all nonconformances from cover-up, inadvertent use, and corrected. We:

Mark the nonconformance item to clearly identify it for correction.
Correct nonconformances in a timely manner.

Validate corrections.

Require customer approval before accepting any nonconforming items.

Prevention of Nonconformances. HD and Associates, LLC prevents nonconformances from

recurring and improves company-wide safety performance. We:

Track nonconformance data found during safety inspections and warranty repairs.

Identify and prioritize nonconformance items for future prevention.

Address nonconformance causes systematically by: updating standards and specifications;
improving process and employee capabilities; setting new requirements for subcontractors and
suppliers; and enhancing the effectiveness of field and third party safety inspections.

Train employees, subcontractors, and suppliers on methods and procedures that prevent
nonconformances.

Validate actions taken to prevent nonconformances and their effectiveness.

Safety System Audits. HD and Associates, LLC audits the safety system to assure it is operating
effectively. We:

Audit the operation of the safety system on each project for conformance to the Project Health
and Safety Plan and the HD&A Safety System requirements.

Conduct annual company-wide audits to evaluate effectiveness of the HD&A Safety System and
improve its operation.

 

Page 6
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046062
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 7 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

3. STATEMENT OF SAFETY AND HEALTH POLICY,
GOALS, AND OBJECTIVES

a. SAFETY AND HEALTH POLICY

HD and Associates, LLC is committed to safe and healthful workplace for all employees.

Our goal is to achieve the highest standard of safety throughout all phases of our operations and to
ensure that all employees work safely on jobsites free of avoidable hazardous. When hazards are
unavoidable, we take a proactive approach to prevent injuries. Furthermore, we are ready to respond
quickly and effectively to any accidents to minimize the extent of injuries, and to prevent similar
accidents.

It is the policy of HD&A to abide by all of the safety standards of the Corps of Engineers, including those
outlined in EM 385-1-1 Safety and Health Requirements Manual, OSHA regulations, and described in this
Health and Safety Plan.

Public and personal safety shall be a top priority during the course of work under this contract. All
employees shall be trained and equipped to work in a safe and healthful manner, and shall comply with all
safety and security requirements.

In carrying out our commitment to safety:

e Every employee is indoctrinated into the HD&A Safety System through training of the HD&A
Safety System, Safety Policies, and procedures.

e Each project has a Health and Safety Plan that addresses site-specific conditions and hazards.
We prepare an activity hazard analysis for every phase of construction.

e We systematically reinforce safety during the project through ongoing training and heightened
awareness of hazards.

e Every employee has the responsibility and authority to stop work should they discover an unsafe
condition. Employees will not be reprimanded for stopping work.

e Weclosely monitor safety through every phase of construction. Should problems be found, we
correct them and take action to prevent recurrences. A system of incentives and disciplinary
action reinforces adherence to safe work practices.

b. PROJECT SAFETY PERFORMANCE GOALS AND OBJECTIVES

Our primary safety goal is based on the philosophy that all occupational injuries and illnesses can be
prevented and that a 'Zero Accident and Injury’ goal is achievable.

We strive for the safest possible conditions to protect and preserve people, property and the
environment. On each construction site, the project Superintendent will be directly accountable for the
safety performance on the construction project. Quite simply, the company's project safety and loss goals
are:

Zero injuries, illnesses

Zero permanent disabilities

Zero fatalities

Zero safety and health violations

 

Page 7
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046063
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 8 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

e Prevention of any major fires, vehicle accidents, or property damage/losses
e No environmental accidents

To achieve zero accidents and injuries our objective is to use a sound approach to prevent injuries and
deploy it effectively. Our approach uses the Health and Safety Plan and the Activity Hazard Analysis to
plan what policies, procedures, and actions need to be instituted to assure safety. and then, we fully
deploy those plans and have inspections and controls in place to assure that the plans are followed. Our

secondary goal is zero safety nonconformances as measured by our inspections and audits, or
observations by external organizations.

 

Page 8
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046064
Case_2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 9 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

4. RESPONSIBILITIES AND LINES OF AUTHORITIES

a. COMPANY RESPONSIBILITY STATEMENT

HD and Associates, LLC is ultimately responsible for the implementation of this safety program on this
project.

b. IDENTIFICATION AND ACCOUNTABILITY OF PERSONNEL
RESPONSIBLE FOR SAFETY

Personnel assigned to this project have the safety duties, responsibilities and authority defined by their
job position. Table 4-1 shows the name of the person assigned to this project and their respective job
position(s).

Table 4-1
Safety Personnel Name Job Position
Larry Buras Safety Manager
Steven Becnel General Manager

The President has overall responsibility for implementation safety including performance and results of
the HD&A Safety System, including safety on this project.

The Safety Manager is responsible for the project implementation of the HD&A Safety System on this
project including the preparation of the project Health and Safety Plan, its implementation, and
conformance to its requirements.

The General Manager has the responsibility for assuring conformance to the Health and Safety Plan and
have authority to approve and carry out all disciplinary actions for those who violate the policies,
procedures and/or rules and regulations.

Each Employee is responsible for abiding by the policies, procedures, rules, regulations and orders set
forth by this Safety & Health Program. Each Employee is responsible for maintaining a safe and healthful
workplace environment for all involved.

The Safety Manager, Larry Buras, has completed the OSHA 30-hour course.
Names of Competent and/or Qualified Persons
Competent and/or qualified personnel assigned to this project are identified by Table 4-2.

Table 4-2

 

Page 9
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046065
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 10 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

Safety Personnel Name Job Position

Larry Buras Safety Manager

John Davillier President

Job qualifications for each person appointed to key project job positions are documented by their
resumes and OSHA certificates. Resumes and certificate exhibits are included in this subsection.

c. PRESENCE OF COMPETENT PERSONNEL

No work will be performed unless a designated competent person is present on the job site.

 

Page 10
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046066
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 11 of 35

Dx

HD&A Health and Safety Plan/Safety Assurance

d. SAFETY LINES OF AUTHORITY

The Project Safety Organization Chart shows the safety organizational structure. The chart includes job
positions along with the name of each person appointed to that position. Figure 4-1 shows the Safety

Organization Chart for this project.

 

 

 

 

 

 

 

Figure 4-1
President/General
Manager
Safety Manager Quality Manager

 

 

Project Manager

 

 

 

 

 

 

Third Party Inspection
and Testing Agencies

 

 

 

Superintendent

 

 

Crew Foremen

 

 

 

Subcontractors And
Suppliers

 

 

 

Page 11

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046067
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 12 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

e. POLICIES AND PROCEDURES REGARDING NONCOMPLIANCE

All HD and Associates, LLC subcontractor and supplier personnel shall be held to a “Zero Tolerance Policy”

of immediate termination with no opportunity for rehire on the project in regards to the following

offenses:

Noncompliance with the requirements of this Health and Safety Plan

Noncompliance with the HD&A Safety Policies

Fighting on the jobsite

Possession of firearms or other dangerous weapons or devices

Dishonesty or fraud, including falsification of security, personnel or other records

Possession, use, or being under the influence of alcoholic beverages, narcotics or non-prescribed
drugs while on a project jobsite

Violence, intimidation, or threats of violence to supervisory personnel, security officers, or fellow
workers

Theft of property

Willfully damaging or mutilating materials, tools, equipment, or personal property of another
employee

Intentional violation of a safety rule, policy, or procedure

Removal or destruction of any tags or markings on plant components

Violation of equipment lock out / tag out (LOTO) procedures

Violation of mandatory 100% fall protection / continual tie-off procedures.

Use of electronic communications while operating any motorized equipment is prohibited (cell
phones, smart phones, computers, music players, radios, communication radios)

Unauthorized entry into a red barrier/banner tape area

 

Page 12
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046068
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 13 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

HD and Associates, LLC
Project Personnel Competent Person Qualification Form

Version March 13, 2013

Name: Job Position:

Project Number Project Name Approval Approved By
Llves

[ProjectNumber] [ProjectName] LINo

Review Topics | Project-Related Job Credentials

Certification required: Certifications and expiration dates:
Training required: Training completed and expiration date:
Licenses required: License and expiration dates:

Type and length of experience required: Certifications and expiration dates:

Qualifications

[knowledge of Company safety standards

[knowledge of Company job safety responsibilities and authority
Lbemonstrated skills and knowledge

Lbemonstrated ability

LIDemonstrated results

Qualification Notes:

Provisional Approval: Action plan for improvement

Follow-up results and date

 

Page 13
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046069
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 14 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

5. SUBCONTRACTORS AND SUPPLIERS

a. IDENTIFICATION OF SUBCONTRACTORS AND SUPPLIERS

A list of subcontractors and suppliers approved by the Safety Manager is recorded on the Project
Subcontractor and Supply List, included as an exhibit in this subsection.

b. SUBCONTRACTOR NONCOMPLIANCE POLICY

The Safety Manager will terminate any subcontractor who does not conform to the requirements of this
Health and Safety Plan.

The Safety Manager has the authority to reinstate a subcontractor only after all deficiencies have been
corrected. The subcontractor may not continue work with known safety nonconformances.

The Safety Manager also has the authority to reinstate a subcontractor provided all subcontractor
personnel on the project work directly under the HD&A Safety System.

 

Page 14
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046070
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 15 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

HD and Associates, LLC
Project Subcontractor and Supplier List

Version March 13, 2013

 

Project ID Project Name Preparer/ Date
[ProjectNumber] [ProjectName]
. a . Safety Control Method
Subcontractor/Supplier Description of Materials / (Not Applicable/ Subcontractor QC/
Work Tasks Name Services HD&A QC) Remarks
Page 15

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046071
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 16 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

6. TRAINING

All Project personnel must undergo all training required by this plan before they may perform project work.

As the project proceeds, newly hired employees and new employees assigned to the project must undergo training
required by this plan before they may perform project work.

The Training Plan and Log form lists the training required by this project.

a. REQUIREMENTS FOR NEW HIRE SOH ORIENTATION TRAINING

The Safety Manager conducts a meeting with the Project Manager, Superintendent, and other key management and safety
personnel. Topics to discuss include:

e Details of the HSP and how they will be incorporated plans, programs, and procedures.

e = A listing of anticipated AHAs that will be developed and implemented during the performance of the contract. This
list of proposed AHAs will be reviewed and agreed upon.

e Aschedule for the preparation, submittal, review, and acceptance of AHAs to preclude project delays.

e Deficiencies in the submitted HSP

The functions of the Pre-construction Safety Conference may be incorporated into other planning meetings. Customer
safety training on operation and maintenance

During the project closeout phase, the Safety Manager trains customers on the safety aspects of operation and
maintenance of the completed project.

The Safety Manager ensures that all employees receive training relevant to their safety responsibilities including job
hazards and activity hazards.

The Safety Manager ensures that all subcontractors receive training on relevant elements of the HD&A Safety System,
Project Health and Safety Plan, and safety standards.

The Safety Manger identifies the training needs of all personnel performing activities that affect safety. Training topics may
include:

e The HD&A Safety System

e The HD&A Safety Policy

e Specific operating policies identified in the Safety Manual

e Specific safety standards cited in the Safety Manual, or project documents, or records
e = Specific safety standard operating procedures

e Customer operation and maintenance training

e = Job hazard analysis

e = Activity hazard analysis

e Safety communications

The Safety Manager develops a Project Safety Training and Communications Plan that describes methods of
communications among the customer, subcontractors, suppliers, and HD&A. The Project Safety Communications Plan
includes:

 

Page 16
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046072
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 17 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

e Distribution of the assigned responsibility and authority of the Project Manager, Safety Manager, and
Superintendent and the Project Organization Chart.

e Customer points of contact including engineers, architects, and safety assurance personnel.

Subcontractors and supplier points of contact

Project pre-construction meeting participants, date, and location

Work Task safety plan meeting participants, and nominal location.

Weekly project communication meeting participants, and nominal day of week, time, and location

Daily construction report distribution, frequency, and due date

Monthly project status report distribution and due date

e Distribution of safety inspection and test records, and due date

e Nonconformance report distribution and customer approval authority

e Location of project safety records storage and point of contact for records access

The Safety Manager indoctrinates each employee into the safety program goals, responsibilities, authority, policies,
requirements, rules, and procedures.

Prior to commencement of construction activities, all construction personnel assigned to the project will have completed
safety indoctrination training including:

e Requirements and responsibilities for accident prevention and maintaining safe and healthful work environments

e General safety and health policies and procedures and pertinent provisions of the Federal and State standards and
regulations

e Employee and supervisor responsibilities for reporting all accidents

e Provisions for medical facilities and emergency response and procedures for obtaining medical treatment or
emergency assistance

e Procedures for reporting and correcting unsafe conditions or practices

e Job hazards and the means to control/eliminate those hazards, including applicable activity hazard analysis.

e = Specific training as required by Federal, State and Local regulations.

All site personnel will sign the acknowledgement page and have the signed page placed in their training files. The Safety
Manager has the responsibility of ensuring that personnel assigned to this project comply with these requirements.

b. PROCEDURES FOR PERIODIC SAFETY AND HEALTH TRAINING

The Safety Communications Plan lists safety-related topics and how they will by communicated and reinforced through
periodic training to project personnel.

The Superintendent ensures that weekly toolbox meetings reinforce critical safety topics for all available construction
personnel.

Weekly toolbox safety meeting will be conducted weekly, nominally on the same time and day of the week. The day and
time will be set at the project pre-construction safety conference. Each on-site worker will be required to attend.
Attendance will be recorded. The Superintendent will be responsible for conducting these meetings.

All available project personnel attend a monthly safety meeting conducted by the Safety Manager. Topics to be covered
during such meetings may include hazardous materials, material safety data sheets (MSDS), safe lifting, safe driving, proper
use of Personal Protective Equipment, safe work methods.

Cc. SAFETY TRAINING RECORDS

 

Page 17
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046073
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 18 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

Records will be kept on training activities including training topics and participants.

Training records will be kept on the Training Record form included as an exhibit in this subsection.

 

Page 18
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046074
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 19 of 35

Di

HD&A Health and Safety Plan/Safety Assurance

 

[ProjectNumber]

HD and Associates, LLC
Training Plan

Version March 13, 2013

 

Project ID Project Name Preparer Date
[ProjectName] [SafetyManagerName] March 14, 2013
Training Title/ID Training Description When Required Planned Participants Notes
(date, milestone or event) (Job Position/Organization)
Page 19

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046075
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 20 of 35

YPM HD&A Health and Safety Plan/Safety Assurance

HD and Associates, LLC
Training Log

Version March 13, 2013

 

Project ID Project Name
[ProjectNumber] [ProjectName]
Training Title/ID Training Date Participant Name Participant Signature | Trainer Signature | Notes

Of Completion

 

Page 20
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046076
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 21 of 35

YD HD&A Health and Safety Plan/Safety Assurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Project ID | Project Name | Preparer | Date | |
[ProjectNumber] | [ProjectName] | [ProjectManagerName] | | |
Company Name and Position Contact Responsibilities Phone Contact Email
Numbers
Page 21

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046077
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 22 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

7. SAFETY AND HEALTH INSPECTIONS

HD and Associates, LLC will conduct a coordinated array of safety inspections and tests that will verify that
work processes and results conform to this Health and Safety Plan, contract requirements, and HD&A
safety standards.

Inspections are necessary to verify that work processes and results conform to both contract
requirements and HD&A safety standards.

Qualified personnel inspect every project throughout the construction process. Additional reviews
validate the accuracy of the field safety inspections and ensure that the safety standards apply uniformly.

An inspection and test plan defines the safety inspections and tests required for a specific project.

Personnel may only inspect construction activities for which they are have been qualified by the Safety
Manager.

Should an accident occur or an inspection identifies a safety issue, we systematically contain the issue and
quickly make corrections.

a) CONTROL THE CONTINUATION OF WoRK

Our first action is to prevent further injuries or harm by clearly mark the area by tape, tag, or other easily
observable signal to prevent entry to a hazardous area, or use of hazardous equipment and materials.

After the item is marked, the Safety Manager or Superintendent determines if work can continue in the

affected area:

CONTINUE WORK: When continuing work does not adversely affect safety, work may continue in
the affected area while the disposition of the item is resolved. The Safety Manager may place
limitations on the continuation of work.

STOP WORK ORDER: When continuing work can adversely affect safety, work must stop in the
affected area until the disposition of the item resolved. The Safety Manager identifies the limits
of the affected area. The Safety Manager quickly and clearly marks the stop work area.

b) RECORDING OF NONCONFORMANCES

If safety nonconformances or observed items are not immediately corrected, the Safety Manager records
the nonconformances on a nonconformance report.

Nonconformances and their resolution are recorded on a Nonconformance Report form. A
Nonconformance Report form exhibit is included in this subsection.

The Safety Manager assigns a planned date by which the deficiencies will be corrected on the
Nonconformance Report Control Log included in this section. The date may be assigned for all items or
individual items as necessary.

The Safety Manager will conduct a follow-up inspection and verify that all nonconforming items have
been corrected.

 

Page 22
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046078
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 23 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

c) CORRECTIVE ACTIONS

We expedite a corrective action that brings the safety issue into conformance. Similar hazards are
reinspected for similar nonconformances.

Fixing a safety problem is not sufficient. HD&A systematically prevents recurrences to improve safety.
First enhanced controls and management monitoring are put into place to assure work proceeds without
incident. Then using a structured problem solving process, we identify root causes and initiates solutions.
Solutions may involve a combination of enhanced process controls, training, upgrading of personnel
qualifications, improved processes, and/or the use of higher-grade materials. Follow-up ensures that a
problem is completely resolved. If problems remain, the process is repeated.

a. INSPECTIONS

a) ACCIDENT INVESTIGATION INSPECTIONS

Should and accident occur, Safety Manager will conduct an Accident Investigation Inspection following
the procedures identified in the Inspection section of this plan. The Safety Manager records results of the
investigation on the Accident Investigation Report included as an exhibit in the Accident Reporting section
of this plan.

b) — DAILy SAFETY INSPECTIONS

The Safety Manager or Superintendent, both competent persons, will conduct daily site safety inspections
every day that there is work activity on the jobsite. Any noted deficiencies will be identified on that day’s
Daily Report shown as an exhibit in this subsection.

c) WonrK TASK SAFETY INSPECTIONS

The Superintendent will conduct a series of safety inspections for each work task identified in this HSP:

a) In advance of work, a Preparatory Site Inspection

b) Immediately prior to work beginning, an Initial Job-Ready Safety Inspections

c) Material safety inspection and tests

d) As work continues, follow-up work in process safety inspections

e) At the completion of the work task, a completion safety inspection Work Task
Completion Inspections

d) INSPECTION RECORDS

The Safety Manager will prepare an inspection form for each work task. The Safety Manager lists on the
form checkpoints for heightened awareness.

The person responsible for the inspection will record work task inspection results on the work task
inspection form.

b. DEFICIENCY TRACKING, CONTROLS, AND RECORDS

 

Page 23
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046079
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 24 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

Should a nonconformance be identified by an inspection there is a systematic method to control the item,
correct it, and ensure that project safety is not adversely impacted by the event.

A nonconformance is any item that does not meet project specifications or HD&A Safety System
requirements.

a) DEFICIENCY CONTROLS

When the Safety Manager, Superintendent, inspector, or customer identifies a nonconformance or an
observation, the person(s) involved are immediately notified. If the item is a physical condition, the item
is quickly and clearly marked by paint, tape, tag, or other easily observable signal to prevent inadvertent
cover-up.

After the item is identified, the Superintendent determines if work can continue in the affected area:

e CONTINUE WORK: When continuing work does not adversely affect safety or hide the defect,
work may continue in the affected area while the disposition of the item is resolved. The
Superintendent may place limitations on the continuation of work.

@ STOP WORK ORDER: When continuing work can adversely affect safety or hide the defect, work
must stop in the affected area until the disposition of the item resolved. The Superintendent
identifies the limits of the affected area. The Superintendent quickly and clearly marks the stop
work area.

If the nonconformance or observed item by the work task completion inspection, the Superintendent or
inspector records nonconformances on a nonconformance report form.

The Superintendent sends the nonconformance report to the Safety Manager.

When the Safety Manager receives a Nonconformance Report, he/she makes an assessment of the affect
the reported nonconformance has on form, fit, and function. The Safety Manager may assign a disposition
of either:

e REPLACE: The nonconformance can be brought into conformance with the original specification
requirements by replacing the nonconforming product or material with a conforming product or
material.

e REPAIR: The nonconformance can be brought into conformance with the original requirements
through re-machining, reassembly, reprocessing, reinstallation, or completion of the required
operations.

e REWORK: The nonconformance can be made acceptable for its intended use, even though it is
not restored to a condition that meets all specification requirements. The Safety Manager may
specify safety standards that apply to the completion of rework. Rework nonconformances must
be approved by the customer.

e USE AS-IS: When the nonconforming item is satisfactory for its intended use. Any use as-is items
that do not meet all specification requirements must be approved by the customer.

b) CORRECTIVE AND PREVENTIVE ACTIONS

Fixing problems found during safety inspections is not sufficient. Systematic prevention of recurrences is
essential for improving safety.

 

Page 24
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046080
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 25 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

HD&A makes changes to solve the problem. Solutions may involve a combination of enhanced process
controls, training, upgraded personnel qualifications, improved processes, or use of higher-grade
materials.

Follow-up ensures that a problem is completely resolved. If problems remain, the process is repeated.

The Superintendent verifies that corrective actions eliminate the nonconformance to the requirements of
the original specifications or as instructed by the disposition of the nonconformance report, and then
removes, obliterates, or covers the nonconformance marker.

Furthermore, the Superintendent ensures that previously completed work is reinspected for similar
nonconformances and corrective actions are taken to avert future occurrences.

When a nonconformance is found, the Superintendent ensures that:

e Previously completed work is reinspected for similar nonconformances
e Corrective actions are taken to avert future occurrences

The Safety Manager identifies requirements for corrective actions with respect to frequency, severity, and
detectability of safety nonconformances items found during and after completion of construction
activities.

When a solution requires changes to HD&A safety standards, the Safety Manager makes modifications as
necessary by making changes to:

Material specifications
Personnel qualifications
Subcontractor qualifications
Company standards
Inspection processes

The Superintendent initiates corrective action training to address safety nonconformances. Personnel and
subcontractors performing or inspecting work participate in the training.

A qualified Superintendent inspects corrective actions during regular safety inspections and records
observations on the safety inspection form.

The Superintendent notifies affected subcontractors of selected preventive-action training requirements.

The Superintendent evaluates the effectiveness of the improvements. The Safety Manager reviews
improvement results recorded on safety inspection records and monthly field reviews. When the Safety
Manager determines that the improvement actions are effective, the item is no longer treated as a
preventive action.

c. EXTERNAL INSPECTIONS

External inspections may be conducted by the customer, OSHA, and other regulatory agencies.

 

Page 25
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA004608 1
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 26 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

When notified of an external inspection, the Safety Manager will accompany external inspector on the
safety inspection.

When there is a hold point for an external inspection, the Safety Manager will ensure that work in the
area is stopped or proceeds in a controlled manner that does not interfere with the external inspection.

The Safety Manager will immediately notify the customer and OSHA or other regulatory agency that were
notified of an accident (see Accident Reporting Section of this Health and Safety Plan and provide them
with an opportunity to accompany the Safety Manager on follow-up or corrective action inspections. (The
inspection will not be delayed due to non-availability of external parties.) The Safety Manager will provide
the external inspector with a copy of any citations or reports and any corrective action responses to the
citation(s) or report(s).

Testing is not required on this project. If the need for testing is discovered by an Activity Hazard Analysis
test will be performed only by approved, testing agencies, or qualified personnel. Credentials and
qualifications of the testing each laboratory will be added as an amendment to the exhibits in this
subsection.

 

Page 26
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046082
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 27 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

Project ID

[ProjectNumber]

Project Task /
Contract Section

HD and Associates, LLC
Safety Controlled Work Task List

Version March 13, 2013

Project Name Preparer Date
[ProjectName] [SafetyManagerName] March 14, 2013
A hazard analysis is performed for each safety controlled feature of work listed Notes:

below.

Task safety inspections series including the three phases of control inspections are
performed on each Work Task:

e Initial job-ready

e Compliance with material inspection and tests

e Work in process

 

Page 27
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046083
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 28 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

HD and Associates, LLC
Work Task Inspection Form

Version March 13, 2013

 

Work Task (Section#)

Project: Id# Project Name:
[ProjectNumber] [ProjectName]

Reference Specifications:

Compliance Verification

Lcomplia nce with initial job-ready requirements

Lcomplia nce with material inspection and tests

Ccom pliance with work in process first article inspection requirements
Clcom pliance with work in process inspection requirements

Ccompliance with inspection and test plan

Production Notes:

Reported Nonconformances:

Location/Area: Subcontractor Company
ID#:
Name:

Reference drawings: Crew ID/Name

Heightened Awareness Checkpoints

OOOOO

Verification of Work Task Completion (sign and date)

Subcontractor

Work Task verified complete to specifications (sign and date}

Project Superintendent
Score subcontractor performance and feedback notes

Work Task verified complete to specifications (sign and date)

Safety Manager

Score subcontractor performance and feedback notes

Work Task verified complete to specifications (sign and date}

Sign and date*:

Safety: 54321
On-Time: 54321

Safety: 54321

Sign and date*:

Safety: 54321

Sign and date*:

* On behalf of the contractor, | certify that this report is complete and correct and equipment and material used and work performed during this reporting period is in compliance with the contract

drawings and specifications to the best of my knowledge except as noted in this report.

 

Page 28

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046084
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 29 of 35

Dx

HD&A Health and Safety Plan/Safety Assurance

 

 

 

 

 

 

 

 

 

 

 

 

 

(Sub)Contractor Kick-Off! Pre-Mobilization Attachment 2-1
Meeting Checklist Page 1 of 2
(Sub)Contractor Date Market
Attendees: Company:
SUBJECT ITEMS DISCUSSED

 

 

1. Program Expectations
» Zero Accident Philosophy

 

2. Organization
* Program/Market Organization
* Subcontractor Organization
* Subcontractor Roles/Responsibility
* Subcontractor Safety Representative

 

3. Standards and Regulations
* Appendix B (Provided copy)
+ Exhibit A
+ SWPP (Definition)
* State & Federal Regulations

 

4. Training and Education
+ Employee Onentaton
+ Supervisory Orientation
« Weekly (Sub)Contractor Safety Meeting
+ (Sub)Contractor Sponsored Training
(SLW, 10 hour OSHA, Fall protection)
+ First Aid/CPR as required

 

5, Reports and Records
+ Investigation Report
+ 58H Performance Report
+ (Sub)Contractor to Lower-tier Subcontractor
+ Pre-Mobilization Checklist

 

 

 

 

 

Page 29
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046085
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 30 of 35

Dx

HD&A Health and Safety Plan/Safety Assurance

 

 

Program Kick-Off/ Pre-Mobilization Meeting Attachment 2-1
Checklist Page 2 of 2

 

 

6. Field S&H Systems
+ (Sub) Contractor S&H Program
* Personal Protection Equipment
+ EME/RF
+ Fall Protection/Climbers
* Aerial Work Platforms
+ Barricading
* Tools and Equipment
+ Confined Spaces
* Emergency Procedures
* Excavations and Trenches
* Potholing
* Traffic Control
* SWPP(s)
* Working on DC Power requirements

 

T. Inspections and Audits
+ (Sub)Contractor Notice of Non-Compliance
+ Governmental Agency Inspections/Notification

 

8. Safety Equipment Standard Products Process
* System Scope/Overview

 

9. Other

 

 

 

 

 

 

 

 

 

Page 30
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046086
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 31 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

(Sub) Contractor Behaviors & Conditions Assessment Attachment 3-4

Is Contractor Meeting The

YES NO NIA

PERSONAL PROTECTIVE

HOUSEKEEPING
1

TOOLS & EQUIPMENT

2

4

ELECTRICAL
1

3

5

 

ments?

ITEMS ASSESSED
UIPMENT

when

face shields when

ls the work site clean?
trash containers available

Are Hazardous Matenals stored

Are load limits of floors, mezzanines, and racks followed?

Are Combustibles and Flammables stored ?

Are com inders and stored a
ensu safe aces

Is ipment on stable
in
Are toals/equi tin ing order?

Are en familiar with e isolation & lock
tower ce
Are fault circuit inte er (GFCI) utilized?
not in use
Are electrical tools in order?

ng near power lines are a
vention of electrocution practices in

 

Page 31

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046087
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 32 of 35

/

HD&A Health and Safety Plan/Safety Assurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Sub) Contractor Behaviors & Conditions Assessment Attachment 3-4
Page 2 of 3
l Yes | No [ N/A

RIGGING and CRANES

1 Is ngging in good condition?

2 ls crane operator certified/trained?

3 Has lifting plan been reviewed?

4 Are safety procedures and practices in place regarding the safe use of aerial lift
devices?

5 Crane Certification/Inspection Current?

6 Crane Positioned Properly for Load?

t Swing Radius Identified?

JOB

1 Has a site JSA been conducted?

Z Have all “Utility Avoidance” methods and requirements been followed?

a Are all excavating and trenching safety procedures in place?

4 Are workers “competent to their specific job, tasks and or duties?

5 Are confined space practices and procedures in place?

6 Have you met all “Hazard Communication Program” elements?

7 Are MSDS available and specific to the exposures?

8 Are RF controls in place?

9 Are safety signs posted in plain view?

10 Are ladders in good working condition and proper type?

11 Are fire extinguishers in place?

12 ls there an Emergency Action Plan in place?

3 Are all open floor and wall holes guarded?

14 Was there a pre-work safety meeting conducted?

15 Are sanitation facilities and drinking water available?

16 !s all equipment operated by designated, qualified, and trained drivers or operators
with annual retraining and new orentation as required per equipment?

WASTE MANAGEMENT

1 Are waste containers propery labeled?

2 Are waste being removed from site and disposed of properly?
CLEAN UP AND RESTORATION

1 Has site been cleaned up, re-graded, and stabilized’?

2 Are all erosion controls repaired?

3 All fences, gates, and access roads been restored to original condition?

 

 

 

Page 32

1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046088
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 33 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

(Sub) Contractor Behaviors & Conditions Assessment naa ae 34
[)

Have site-specific fall hazards been identified and all available controls put in
ace?
Are PFAS provided and utilized (i.e. Full Body Harness, Connectors and Related
Eau
in rotection
Are tied off as requi
in
ines in place
er
tower ent

10 Are materials secured while ing in elevated areas?

ACTIONS TAKEN AND COMMENTS

 

 

Page 33
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046089
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 34 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

8. ACCIDENT REPORTING

a. EXPOSURE DATA

The Safety Manager will submit Monthly Man-hour Exposure Reports to the Contracting Officer no later
than the Sth workday of each month. The report encompasses on-site work including all hourly and
salaried employees. The report will include all subcontractors working on this project.

Exposure data will be reported on the Man-Hour Exposure Reports form included as an exhibit in this
subsection.

b. ACCIDENT INVESTIGATION REPORTS AND LOGS

a) ACCIDENT REPORTS

All accidents occurring incidentally to the project is investigated, reported, and analyzed. The Safety
Manager will report all accidents and injuries no matter how slight. The Safety Manager will notify the
Contracting Officer as soon as practical, but not later than 24 hours, after any accident. The accident
notification will include: contractor name; contract title; type of contract; name of activity, installation or
location where accident occurred; date and time of accident; names of personnel injured; extent of
property damage, if any; extent of injury, if known; and brief description of accident (to include type of
construction equipment used, PPE used, etc.).

The Safety Manager will notify the Contracting Officer as soon as practical, but not later than four hours,
after any accident that

e Meets the definition of Recordable Injuries or Illnesses or High Visibility Accidents
e Property damage equal to or greater than $2,000
e Weight handling equipment accident in accordance with NASA NPG 8621.1.

Preserve the conditions and evidence on the accident site until the Government investigation team
arrives on-site and Government investigation is conducted.

The Safety Manager will notify the Contracting Officer immediately when there is:

A fatal injury

A permanent total disability

A permanent partial disability

The hospitalization of three or more people resulting from a single occurrence
Property damage of $200,000 or more

Accidents will be reported on OSHA Form 301 Injury and Illness Incident Report included as an exhibit in
this subsection.

b) | LOG OF WORK-RELATED ACCIDENTS AND INJURIES

All work-related accidents and injuries occurring incidentally to this project, no matter how slight, will be
recorded on the OSHA 300 Log of Work-related Accidents.

 

Page 34
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDA0046090
Case 2:19-cv-10635-ILRL-JVM Document 97-6 Filed 10/09/20 Page 35 of 35

DK

HD&A Health and Safety Plan/Safety Assurance

 

All work-related accidents and injuries occurring incidentally to this project, no matter how slight, will be
recorded on the OSHA 300 Log of Work-related Accidents included as an exhibit in this subsection.

c) ACCIDENT INVESTIGATION

Should and accident occur, the Safety Manager will thoroughly investigate the accident. The Safety
Manager will conduct an Accident Investigation Inspection following the procedures identified in the
Inspection section of this plan. The Safety Manager records results of the investigation on the Accident
Investigation Report included as an exhibit in this subsection.

d) CORRECTIVE ACTIONS

Corrective Actions will be taken following the procedures identified in the Inspection section of this plan.
The Safety Manager follows up on each corrective actions and records findings on the Accident
Investigation Report.

Cc. IMMEDIATE ACTION NOTIFICATION

The Safety Manager will notify the customer immediately when there is:

A fatal injury

A permanent total disability

A permanent partial disability

The hospitalization of three or more people resulting from a single occurrence
Property damage of $200,000 or more

Accidents are reported using the Accident Investigation Report form on the following pages. The Safety
Manager prepares the Accident Investigation Report.

 

Page 35
1107 Wright Ave ¢ Terrytown, LA 70056 ¢ Ph. (504) 415-3112

Copyright

HDAO0046091
